Case 4:20-cv-00957-SDJ          Document 752 Filed 01/06/25          Page 1 of 42 PageID #:
                                          50814

                                     *FILED UNDER SEAL*
                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                SHERMAN DIVISION

The State of Texas, et al.,

                       Plaintiffs,
                                               Case No. 4:20-cv-00957-SDJ
v.
                                               Hon. Sean D. Jordan
Google LLC,

                       Defendant.



            PLAINTIFF STATES’ MOTION FOR SPOLIATION SANCTIONS
Case 4:20-cv-00957-SDJ                         Document 752 Filed 01/06/25                                 Page 2 of 42 PageID #:
                                                         50815

                                                    *FILED UNDER SEAL*

                                                    TABLE OF CONTENTS

INTRODUCTION ......................................................................................................................... 1
BACKGROUND ........................................................................................................................... 1
          A.         Google’s Chat and Document Retention Policies. ................................................. 1
          B.         Google Instructed its Employees To Use “History Off” Chats for Work-
                     Related Communications Because They Would Not Be Preserved for
                     Future Litigation. ................................................................................................... 3
          C.         Google Intentionally Failed To Preserve Large Quantities of Relevant
                     Chats. ..................................................................................................................... 5
LEGAL STANDARD.................................................................................................................... 8
ARGUMENT ................................................................................................................................. 9
          A.         Relevant Chats That Should Have Been Preserved Were Permanently
                     Deleted Because Google Failed To Take Reasonable Steps To Preserve
                     Them. ..................................................................................................................... 9
          B.         Rule 37(e)(2) Sanctions Are Warranted Because Google Intentionally
                     Failed To Preserve Chats for the Purpose of Depriving Opponents of Their
                     Use in Litigation. ................................................................................................. 12
          C.         Rule 37(e)(1) Sanctions Are Warranted Because Plaintiffs Are Prejudiced
                     by Google’s Failure To Preserve Chats. .............................................................. 13
CONCLUSION ............................................................................................................................ 15




                                                                      -ii-
Case 4:20-cv-00957-SDJ                         Document 752 Filed 01/06/25                              Page 3 of 42 PageID #:
                                                         50816

                                                    *FILED UNDER SEAL*

                                                 TABLE OF AUTHORITIES

                                                                                                                                    Page(s)

Cases

Allstate Texas Lloyd's v. McKinney,
    964 F. Supp. 2d 678 (S.D. Tex. 2013) .....................................................................................11

Anderson v. Sotheby's Inc. Severance Plan,
   No. 04 CIV. 8180 (SAS), 2005 WL 2583715 (S.D.N.Y. Oct. 11, 2005) ................................11

Balancecxi, Inc. v. Intl. Consulting,
   No. 1:19-CV-0767-RP, 2020 WL 6886258 (W.D. Tex. Nov. 24, 2020), report
   and recommendation adopted sub nom. BalanceCXI, Inc. v. Intl. Consulting &
   Research Group, LLC, No. 1:19-CV-767-RP, 2021 WL 2194900 (W.D. Tex.
   Feb. 3, 2021) ................................................................................................................12, 13, 15

Bellamy v. Wal-Mart Stores, Texas, LLC,
    No. SA-18-CV-60-XR, 2019 WL 3936992 (W.D. Tex. Aug. 19, 2019) ................................11

BHI Energy I Power Services LLC v. KVP Holdings, LLC,
   No. 3:22-CV-1981-L-BN, 2024 WL 1607065 (N.D. Tex. Apr. 12, 2024)
   ............................................................................................................................ 8-10, 12, 14, 15

Cleary v. Am. Airlines, Inc.,
   No. 4:21-CV-00184-O, 2022 WL 5320126 (N.D. Tex. July 22, 2022)...................................15

Deutschland GmbH v. Glenmark Pharm. Inc.,
   No. 07-CV-5855, 2010 WL 2652412 (D.N.J. July 1, 2010), aff'd sub
   nom.Sanofi-Aventis Deutschland GmbH v. Glenmark Pharm. Inc., USA, 748
   F.3d 1354 (Fed. Cir. 2014) ......................................................................................................13

Disedare v. Brumfield,
   No. CV 22-2680, 2024 WL 1526699 (E.D. La. Apr. 9, 2024) .......................................... 10-15

Edwards v. Junior State of Am. Found.,
   No. 4:19-CV-140-SDJ, 2021 WL 1600282 (E.D. Tex. Apr. 23, 2021) ...............8, 9, 11, 14, 15

In re Google Play Store Antitrust Litig.,
    No. 20-CV-05671, 2024 WL 3302068 (N.D. Cal. July 3, 2024)...............................................5

In re Google Play Store Antitrust Litig.,
    664 F. Supp. 3d 981 (N.D. Cal. 2023) .....................................................................5, 11, 13, 14

Guzman v. Jones,
   804 F.3d 707 (5th Cir. 2015) .....................................................................................................9


                                                                     -iii-
Case 4:20-cv-00957-SDJ                          Document 752 Filed 01/06/25                                Page 4 of 42 PageID #:
                                                          50817

                                                     *FILED UNDER SEAL*

LendingTree, LLC v. Zillow, Inc.,
   No. 3:10-CV-00439-FDW, 2014 WL 1309305 (W.D.N.C. Mar. 31, 2014) ...........................11

Miramontes v. Peraton, Inc.,
   No. 3:21-CV-3019-B, 2023 WL 3855603 (N.D. Tex. June 6, 2023) ......................................15

Owens v. Bd. of Supervisors of Louisiana State U. and Agric. and Mech. College,
  695 F. Supp. 3d 750 (M.D. La. 2023) ................................................................................ 10-14

Sanchez v. Thomas,
   No. 1-22-CV-01197-DII, 2024 WL 4706583 (W.D. Tex. Oct. 9, 2024) .................................12

Trade Group, Inc. v. BTC Media, LLC,
   No. 4:23-CV-00555-P, 2024 WL 3513475 (N.D. Tex. July 23, 2024) .......................11, 13, 14

United Healthcare Services, Inc. v. Rossel,
   No. 3:21-CV-1547-L-BT, 2024 WL 1252365 (N.D. Tex. Mar. 21, 2024)
   ........................................................................................................................................ 9-11, 15

United States v. Google LLC,
   No. 20-CV-3010 (APM), 2024 WL 3647498 (D.D.C. Aug. 5, 2024) .....................................13

United States v. Google LLC,
   No. 23-cv-108 (E.D. Va. Sept. 13, 2024) ............................................................................3, 13

Rules and Statutes

FED. R. CIV. P. 37 .............................................................................................................8, 9, 12–15




                                                                       -iv-
Case 4:20-cv-00957-SDJ        Document 752 Filed 01/06/25             Page 5 of 42 PageID #:
                                        50818

                                 *FILED UNDER SEAL*

                                  TABLE OF EXHIBITS

    Appendices                                      Description

A                 Deposition Excerpts Showing Daily Chats Use

B                 Deposition Excerpts Showing Business Chats Use

                  Deposition Excerpts Showing No Attempt to Change History Settings
C
                  While on Hold

                  Chats Involving Custodians While on Hold in Which Participants Discussed
D
                  Turning History “Off”

                  Chats Involving Custodians in Which Participants Acknowledged History
E
                  “Off” Was to Suppress Discovery

F                 Custodian Hold Dates

    Exhibit No.                                     Description

                  Email produced by Google dated 9/16/2008 from                   to
1                        , titled “Re: [Googlers] Business communications in a complicated w
                  orld” (GOOG-DOJ-29864619–20)

                  Declaration of Jacob Hochstetler in Support of Plaintiff States’ Motion for S
2
                  poliation Sanctions

                  Excerpts from the Deposition of Google’s CEO, Sundar Pichai, taken under
3
                  oath on August 30, 2024 in this Matter

                  Excerpts from the Deposition of                 , taken under oath on May 17,
4
                  2024 in this Matter

                  Email produced by Google dated 11/5/2007 from               to
5                                     , titled "Central Region Weekly Update: Week of Nov
                  ember 5, 2007.” (GOOG-DOJ-19116303–310)

                  Document produced by Google titled “You Said What?!” (USDOJ-GOOGE
6
                  X-000253–304)



                                              -v-
Case 4:20-cv-00957-SDJ         Document 752 Filed 01/06/25              Page 6 of 42 PageID #:
                                         50819

                                   *FILED UNDER SEAL*


     Exhibit No.                                      Description

                   Redacted litigation holds produced by Google (GOOG-AT-MDL-C-0000874
7A-7D              49–451 (Ex. 7A), GOOG-AT-MDL-C-000087452–455 (Ex. 7B), GOOG-AT
                   -MDL-C-000087456 (Ex. 7C), GOOG-AT-MDL-C-000087457–66 (Ex. 7D)

                   Chat conversation produced by Google between                     and
8
                     , dated 4/4/2016 (GOOG-AT-MDL-B-004376995–98)

                   Excerpts of the Transcript of Hearing in the Case of the United States, et al.
9
                   v. Google LLC, No. 1:23-cv-108 (E.D. Va., August 27, 2024)

                   Chat Conversation Produced by Google, dated 10/25/2021 (GOOG-AT-MD
10
                   L-B-004439510–12)

                   Chat Conversation Produced by Google, dated 9/7/2021 (GOOG-AT-MDL-0
11
                   12219359–61)

                   Chat Conversation Produced by Google, dated 9/4/2019 (GOOG-AT-MDL-
12
                   B-003924905–07)

                   Chat conversation produced by Google, dated 8/11/2022 (GOOG-AT-MDL-
13
                   008023410)

                   Chat conversation produced by Google, dated 2/8/2022 (GOOG-AT-MDL-0
14
                   08033073–76)

                   Excerpts of Entries from May 2013 of a Privilege Log Produced by Google i
15
                   n this Matter

                   Civil Investigative Demand Issued on September 9, 2019 by the Office of th
16                 e Attorney General of the State of Texas to Alphabet Inc. (GOOG-UT-00000
                   034–72)

                   Letter Sent from Google’s Counsel in this Matter (Robert J. McCallum) to Pl
17                 aintiffs’ Counsel (Zeke DeRose III, Geraldine Young, and Marc Collier), dat
                   ed August 29, 2024




                                               -vi-
Case 4:20-cv-00957-SDJ      Document 752 Filed 01/06/25          Page 7 of 42 PageID #:
                                      50820

                               *FILED UNDER SEAL*


  Exhibit No.                                     Description

                Entry dated 7/29/2017 Excerpted from a Privilege Log Produced by Google
18
                in this Matter

                Entry dated 8/1/2016 Excerpted from a Privilege Log Produced by Google i
19
                n this Matter

                Entry dated 2/27/2015 Excerpted from a Privilege Log Produced by Google
20
                in this Matter

21              Excerpts from a Privilege Log Produced by Google in this Matter

                Entry dated 12/5/2018 Excerpted from a Privilege Log Produced by Google
22
                in this Matter

                Email Produced by Google dated 6/8/2007 from Victoria Rupeka to multiple
23              recipients, titled “Double Click Media Clips 8.6.07” (GOOG-TEX-0080347
                7–78)

                Email Produced by Google dated 5/24/2013 from Neal Mohan to Susan Woj
24              cicki, titled “Fwd: Press Reports: FTC Investigation & Google Display” (G
                OOG-DOJ-18360214–221)

                Email produced by Google dated 9/9/2019 from Kevin Yingling to multiple r
25
                ecipients, titled “Frd: CID to Alphabet Inc.” (GOOG-NE-11319529)

                Chat conversation produced by Google, dated 12/19/2018 (GOOG-AT-MDL
26
                -B-004633186–96)

                Chat conversation produced by Google, dated 9/16/2019 (GOOG-AT-MDL-
27
                018279549)

                Chat conversation produced by Google, dated 9/18/2019 (GOOG-NE-12976
28
                885–87)

                Chat conversation produced by Google, dated 1/29/2019 (GOOG-DOJ-AT-0
29
                0743521)



                                          -vii-
Case 4:20-cv-00957-SDJ      Document 752 Filed 01/06/25             Page 8 of 42 PageID #:
                                      50821

                               *FILED UNDER SEAL*


  Exhibit No.                                       Description

                Excerpts of the direct and cross examination of Google employee Christophe
30              r LaScala, taken under oath on September 13, 2024 in the case of the United
                States, et al. v. Google LLC, No. 1:23-cv-108 (E.D. Va.)

                Chat conversation produced by Google, dated 7/28/2020 (GOOG-AT-MDL-
31
                B-006365520–23)

                Chat conversation produced by Google, dated 8/31/2020 (GOOG-AT-MDL-
32
                004074544–46)

                Chart titled “Google AdTech: Privilege Log Analysis (As of: May 16, 2024)
33              Anticipation of Litigation,” bearing the label Exhibit 423 from the depositio
                n of Genaro Lopez on May 17, 2024 in this Matter

                Declaration of Ignatius Grande in Support of Plaintiff States’ Motion for Spo
34-A
                liation Sanctions (Pt. 1: Declaration and Exs. 1-15)

                Declaration of Ignatius Grande in Support of Plaintiff States’ Motion for Spo
34-B
                liation Sanctions (Pt. 2: Exs. 16-46)




                                           -viii-
Case 4:20-cv-00957-SDJ          Document 752 Filed 01/06/25             Page 9 of 42 PageID #:
                                          50822
                                  *FILED UNDER SEAL*


                                        INTRODUCTION

       For decades, Defendant Google LLC (“Google”) used an instant messaging application

(“Google Chat”)1 for its employees to communicate. Knowing such communications (“Chats”)

could be “used against” it in litigation, Ex. 1 (9/16/08 Email) at -619-20, Google intentionally

implemented training and document retention policies from 2008 until 2023 that destroyed the vast

majority of these Chats, including those sent and received by employees subject to litigation holds.

Google did this deliberately and in bad faith. Take it from Google’s Chief Legal Counsel, who

told employees in writing that its Chat retention policies were specifically designed to ensure most

Chats would not be available to adversaries in future litigation. The scheme worked. Millions of

Chats between Google employees involved in the misconduct alleged in this litigation have been

destroyed. These Chats contained relevant evidence on intent, deception, and knowledge that is

not obtainable from any other source.

       Google’s intentional, bad faith spoliation has prejudiced Plaintiffs, warranting sanctions.

Specifically, the Court should (1) instruct the jury that (i) Google had an obligation to preserve

Chats, (ii) Google intentionally deleted millions of Chats, and (iii) the jury must presume the

deleted Chats contained information unfavorable to Google, (2) find that Chats likely would have

provided further evidence against Google’s motions for summary judgment; (3) award Plaintiffs’

fees and costs associated with this motion; and (4) impose any other just sanction.

                                        BACKGROUND

    A. Google’s Chat and Document Retention Policies.

       Google Chat is an instant messaging tool designed by Google that allows employees to

communicate internally. Ex. 4 (Dep.             ) at 77:18-78:5, 99:6-9, 104:12-22; Exs. 34-A and


1
  “Google Chat” was previously called “Google Talk” or “Google Hangouts.” All functioned
similarly, were subject to the same retention policies, and are referred to as “Google Chat.”


                                                 1
Case 4:20-cv-00957-SDJ          Document 752 Filed 01/06/25             Page 10 of 42 PageID #:
                                          50823
                                   *FILED UNDER SEAL*


34-B (collectively, “Ex. 34”; Declaration of I. Grande) ¶ 5.b, ¶ 10.a. Google Chat contains a

“history” setting that can be turned “on” or “off” for each Chat conversation. Ex. 4 at 79:11-18.

Chats sent or received when the history is turned “off” are deleted after 24 hours, regardless of

whether any employee participating in the Chat is subject to a litigation hold. Id. at 75:24-76:1,

77:7-24, 78:10-19, 136:6-13, 242:13-18, 244:11-22.2 Google designed Google Chat so that history

“off” Chats never pass through Google’s proprietary preservation software (Vault) used to enforce

its retention policies. Id. at 18:21-19:10, 77:7-78:2; see Ex. 34 ¶ n. 14. Deleted Chats cannot be

recovered. Ex. 4 at 90:2-9.

       From 2008 to February 2023, to “help avoid inadvertent retention of instant messages” that

could “become subject to review in legal discovery[,]” Google made “history off” the default

setting for almost all employees, even those subject to litigation holds. Id. at 100:25-01:12; Ex. 1

at -619.3 Google had the ability to set Chat history to “on” as the default (indeed, that default

setting was offered to Google customers). Ex. 4 at 146:21-49:11, 156:24-57:4; Ex. 34 ¶ 5.o. It

was simply not what Google chose for Google employees’ Chats. Ex. 4 at 146:21-49:11, 156:1-

57:4; see Ex. 34 ¶ 10.e-f. Until February 2023, Google left it up to its employees subject to

litigation holds to decide for themselves whether to switch Chat history from the default “off” to

“on.”4 Remarkably, even a conscientious employee had to turn history “on” for each Chat

conversation; he had no ability to change the default setting for all conversations he was in. Ex. 4




2
  The retention period for Chats where the history is turned “on” varies. Id. at 73:17-74:5. Absent
a hold, “history on” Chats are retained at least 30 days and at most 18 months. Id. at 75:6-76:1.
3
  The only exception was “threaded rooms” (i.e., chats sent to many recipients that could branch
off into additional conversations), but even for those, Chats were not preserved more than 24 hours
unless a participant under a litigation hold sent a message. Ex. 4 at 134:17-21, 180:23-84:10.
4
  Ex. 4 at 20:23-21:5, 136:6-13. Unlike with Chats, the emails of employees under a litigation
hold were preserved by default and such setting could not be overridden by those employees. Ex.
4 at 122:4-23:8; Ex. 34 ¶ 5.q.

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Case 4:20-cv-00957-SDJ          Document 752 Filed 01/06/25             Page 11 of 42 PageID #:
                                          50824
                                   *FILED UNDER SEAL*


at 79:3-18. Within a particular Chat conversation, any messages sent or received prior to history

being switched “on” were not preserved.5 Even after one participant turned history “on,” any other

participant could unilaterally turn history back “off,” and any messages sent after would be deleted.

Ex. 4 at 135:5-11, 175:2-7; Ex. 34 ¶ 5.p. There is also no record in a produced Chat conversation

of when history was turned “off” and “on.” Ex. 34 ¶ 10.o-p. Plaintiffs therefore have no way of

knowing whether there are portions of each produced Chat that were not preserved. Id.

       Based on these design features, the onus was on each individual employee under a litigation

hold to determine in real time whether a particular part of a particular Chat might be relevant to

any actual or reasonably anticipated litigation. Ex. 4 at 126:14-27:5; Exs. 7A-D (Redacted

Litigation Holds); Ex. 34 ¶ 5.o. The only guidance Google offered those employees was the

litigation hold notices themselves. Ex. 4 at 185:18-23, 187:6-88:21 (Google’s chat retention policy

did not instruct employees to “turn history on” for discussions related to a litigation hold until

October 2021). Google did not audit whether its employees complied with the litigation holds;

Google’s corporate representative on Chats did not even “know if there is a way to do it.” Ex. 4

at 121:5-15, 204:2-05:6. See also Ex. 34 ¶ 10.s.

    B. Google Instructed its Employees To Use “History Off” Chats for Work-Related
       Communications Because They Would Not Be Preserved for Future Litigation.

       As it faced antitrust investigations over its proposed acquisition of DoubleClick and other

anticompetitive conduct, Google warned employees as early as November 2007 not to create

written records that “last forever” and could be “scrutinized by . . . antitrust regulators,”

particularly on competition-related topics including market definition and dominance,

“competitors,” or “bundl[ing]” products to “lock in” consumers. Ex. 5 (11/5/07 Email) at -303-


5
 Ex. 4 at 79:20-81:12, 90:20-91:10; Ex. 30 (LaSala Tr., United States v. Google LLC, No. 23-cv-
108 (E.D. Va. Sept. 13, 2024)) at 138:2-39:4. Prior to February 2023, the first message in any
Chat would likely never be preserved.

                                                   3
Case 4:20-cv-00957-SDJ          Document 752 Filed 01/06/25             Page 12 of 42 PageID #:
                                          50825
                                   *FILED UNDER SEAL*


04. See also Ex. 34 ¶¶ 5.q, 10.q. In September 2008, Google’s Chief Legal Officer Kent Walker

(Ex. 4 at 22:3-5), sent an email to employees on “email and instant-messaging culture,” warning

that the company faced “several significant legal and regulatory matters”; and that “anything you

write can become subject to review in legal discovery” and “may be used against” Google. Ex. 1

(9/16/08 Email) at -619-20. In that same email, he announced the new Google policy to “make

‘off the record’ the Google corporate default setting for [Chats],” noting that “‘on the record’

conversations become part of your (more or less) permanent record and are added to Google’s

long-term document storehouse.” Id. at -619.

       Google trained employees to follow this policy. For example, since at least 2018, an

interactive training for its employees,6 warned them that Google is “constantly in the public

eye . . . and the courthouse,” that Google “often ha[s] to produce employee communications as

evidence,” and that employees therefore “need to be cautious in [their] communications.” Ex. 6

at -254 (ellipsis in original). Google taught employees that sending an “off the record” Chat is

“[b]etter than sending [an] email” because “off the record” Chats “are not retained by Google as

emails are.” Id. at -264. See also Ex. 34 ¶¶ 5.n., 5.q, 10.n

       Employees took management’s warnings to heart. They regularly expressed concerns

about the risks of preserving Chats that could later be produced in litigation.7 To avoid this issue,




6
  Ex. 6 (“You Said What?!”); Ex. 4 at 101:23-03:22; Ex. 12 (9/4/19 Chat) at -906.
7
  See, e.g., Ex. 13 (8/11/22 Chat) (noting that Chat history being on “forever” is “probably not a
great idea for a public company unless you want to end up getting deposed alot”); Ex. 14 (2/8/22
Chat) at -073 (explaining that Google’s Chats policy was “a risk management issue” because
“communication patterns [in one-to-one Chats] tend to be more hyperbolic and undisciplined” than
in threaded rooms; another employee recognized the potential for spoliation, noting: “funnily
enough, that’s exactly why [a former employer] preserved it for 3 years – philosophy was ‘if you’re
communicating using a company tool, assume it’s legally discoverable’”); Ex. 26 (12/19/18 Chat)
at -188 (confirming reason for history “off” chats was “for when we really are worried about
something specifically ending up in court or resulting in Bad Stuff(tm)”).


                                                 4
Case 4:20-cv-00957-SDJ           Document 752 Filed 01/06/25              Page 13 of 42 PageID #:
                                           50826
                                    *FILED UNDER SEAL*


they extensively used “history off” Chats to communicate with each other regarding substantive

business issues, including ad-tech-related business.8            Because employees knew these

communications were systemically destroyed, these Chats likely expressed candid Google

employee reactions to, and comments about, Google’s intentions and relevant misconduct that was

not fully captured in the communications employees knew would be produced in this case.9

Google’s policy was so well ingrained that many of its designated custodians in this case never

even tried to preserve their Chats. App’x C (Dep. Excerpts Showing No Attempt To Change

History Settings While on Hold).

       Not until February 2023, around the time another federal court rebuked (and ultimately

sanctioned) it for Chats spoliation,10 did Google finally change Google Chat’s default setting to

“history on” and remove the ability for employees under litigation hold to turn it off. Ex. 4 at

25:13-18, 134:3-11; Ex. 3 at 50:15-51:4; Ex. 34 ¶ 5.o.

    C. Google Intentionally Failed To Preserve Large Quantities of Relevant Chats.

       Google knew it was facing advertising technology (“ad tech”) antitrust investigations and


8
   See, e.g., App’x D (Chats Involving Custodians on Hold Discussing Turning History “Off”);
App’x E (Chats Involving Custodians where Participants Acknowledged History “Off” Was To
Suppress Discovery); Ex. 27 (9/16/19 Chat) (referring to “history off” Chats as an unpreserved
“vegas”—i.e., what’s said in Chats stays in Chats); Ex. 34 ¶ 10.a-b(xii), c(iii); see also infra. at 5-
8. Even when discussions were initiated in threaded rooms or other “history on” Chats, employees
often shifted to “history off” Chats to avoid retention of their continued communications. See,
e.g., Ex. 10 (10/5/21 Chat) at -510; Ex. 11 (9/7/21 Chat) at -361. Thus, many Chats in this case—
the history “on” portion of which Google produced as responsive discovery—were at least partially
destroyed. App’x D; see also Ex. 2 ¶ 10.
9
  See, e.g., Ex. 8 (4/4/16 Chat) at -997; Ex. 31 (7/28/20 Chat) (questioning lack of transparency in
auction structure), Ex. 32 (8/31/20 Chat) at -546 (“when DV3 started bidding more intelligently
and optimizing ROI for advertisers, it resulted in a massive shift in spend to Ad[X]”); see also Ex.
34 ¶¶ 5.c, 10.a-b(iii).
10
    See In re Google Play Store Antitrust Litig. (“Play”), 664 F. Supp. 3d 981, 993-94 (N.D. Cal.
2023) (characterizing Google’s practices as “a ‘don’t ask, don’t tell’ policy for Chat preservation,
at the expense of its preservation duties” and ordering monetary sanctions); In re Google Play
Store Antitrust Litig., No. 20-CV-05671, 2024 WL 3302068, at *15 (N.D. Cal. July 3, 2024)
(issuing permissive adverse inference instruction to jury as additional sanction).


                                                  5
Case 4:20-cv-00957-SDJ           Document 752 Filed 01/06/25              Page 14 of 42 PageID #:
                                           50827
                                    *FILED UNDER SEAL*


litigation before it chose to make “history off” the default setting for Chats in 2008 (and well before

February 2023).11 The Special Master recognized that “Google’s own privilege logs assert

attorney client and work product privilege over DoubleClick and ad tech-related communications

as far back as 2006.” Dkt. #558 at 6-7.12 By 2013, Google specifically anticipated ad tech-related

litigation.13 And even Google concedes that it had an obligation to preserve evidence by September

2019, when Texas issued its first Civil Investigative Demand (“CID”), Ex. 16, and began

identifying several ad tech custodians. Dkt.#585 at 12-17; see also Ex. 25 (9/9/19 Email). Google

assured Plaintiffs in January 2020 that it was “taking reasonable and appropriate steps to ensure

its custodians’ compliance” with preservation obligations (Dkt. #545-5 at 4). Despite this

representation, Google utterly failed to implement timely litigation holds on its employees. Ex.

34¶ 10.k. Of Google’s 202 custodians in this matter, 61 were not placed on a litigation hold until

2022 or later, more than 3 years after Texas issued the CID, 2 years after Google represented that

it had implemented litigation holds, and 16 years after Google first anticipated ad tech litigation.

Ex. 17 (8/29/24 Letter); App’x F (Custodian Hold Dates). Since Google did not issue timely

litigation holds, Chats were still not retained even if the history setting was turned “on.” Ex. 4 at

94:23-95:18.




11
   See, e.g., Ex. 34 ¶ 10.h.(i-xi); Ex. 5 (11/5/07 Email) at -303-04; Ex. 1 (9/16/08 Email) at -619-
20; Ex. 23 (8/6/07 Email) at -477 (discussing “antitrust issues surrounding the
Google/DoubleClick Deal”); Ex. 24 (5/24/13 Email) (regarding 2013 FTC investigation into
Google’s ad business).
12
   See also, e.g., Ex. 4 (Ex. 423); Ex. 4 at 59:16-61:22.
13
    See, e.g., Ex. 34¶ 10.h.(i-xi); Ex. 24 (regarding 2013 FTC investigation into Google’s ad
business); Ex. 15 (Google 5/13 Privilege Log excerpts). Google continued to anticipate such
litigation in subsequent years. See, e.g., Ex.34 ¶ 10.h.(i-xi); Ex. 21 (2/19/14-12/2/14 privilege log
entries reflecting FTC investigation); Ex. 20 (2/27/15 Privilege Log No. GGPL-1031909716); Ex.
19 (8/1/16 Privilege Log No. GGPL-2210020836); Ex. 18 (7/29/17 Privilege Log No. GGPL-
1010009884); Ex. 22 (12/5/18 Privilege Log No. GGPL-1190482012). See also Ex. 4 (Ex. 423);
Ex. 4 at 59:16-61:22.


                                                  6
Case 4:20-cv-00957-SDJ          Document 752 Filed 01/06/25             Page 15 of 42 PageID #:
                                          50828
                                   *FILED UNDER SEAL*


       The predictable and intended result of Google’s approach was Google destroyed millions

of relevant Chat messages. Ex. 2 ¶ 11,13-15; Ex. 34 ¶ 10.t-w. The few system-wide backend logs

for Chats that Google has produced confirm what common sense dictates: employees subject to

litigation holds did not vigilantly turn history on in the middle of conversations or if any other

participant switched it off. Ex. 2 ¶ 5.14 Five individuals, including Sundar Pichai (Google’s CEO),

were custodians in both Play and this case, and Google produced the logs for those five custodians

from the period from December 9, 2022, to February 14, 2023. Ex. 2 ¶ 2. The logs showed that

none of those five custodians ever affirmatively switched history “on”; it remained off until Google

forced Chats history “on” in 2023. Id. ¶ 5. Google’s policies resulted in the destruction of 96%

of Pichai’s Chats from December 9, 2022, to February 8, 2023. Id. ¶ 9. Based on the number of

history “off” messages reflected in the logs as to the five available custodians, Google’s policies

appear to have resulted in the deletion of about 20,000 Chat messages per custodian per year,

totaling between 2.8 and 4 million Chat messages per year across all custodians to this litigation..

Id. ¶¶ 11, 13-15; Ex. 34 ¶ 10.t-w.

       Many of these deleted Chats would have been relevant. Of the witnesses Plaintiffs have

deposed in this case, at least thirteen said they used Chats daily, sometimes sending and receiving

hundreds per day; at least eight described how they used Chats to conduct business. App’x A

(Dep. Excerpts Showing Daily Chats Use); App’x B (Dep. Excerpts Showing Business Chats Use);

Ex. 34 ¶¶ 10.a-b. Both Google’s corporate representative on Chats and its CEO (Pichai) agreed




14
   There was a system-wide backend log which contained a record of when employees switched
Chat history “on” or “off” within Chat conversations. Ex. 4 at 218:25-22:4. But Google only used
these logs for debugging purposes and only maintained them for 55 days on a rolling basis. Id. at
219:12-20:20. As a result, the only meaningful logs Google produced in this case were a handful
of logs from a 68-day period (December 9, 2022, to February 14, 2023) that it previously produced
in the Play antitrust litigation. Id. at 218:25-22:4; Ex. 2 ¶ 2.


                                                 7
Case 4:20-cv-00957-SDJ          Document 752 Filed 01/06/25             Page 16 of 42 PageID #:
                                          50829
                                   *FILED UNDER SEAL*


that Google’s employees use Chats daily as an essential tool.15 The few preserved Chats that

Google produced demonstrate that employees used Google Chat to discuss information relevant

to Plaintiffs’ claims, including Chats that are evidence of deception and intent to monopolize.16

       To date, Google has produced over six million documents, only approximately 14-15

thousand of which are Chat conversations. Ex. 2 ¶ 23; Dkt. #374 at 2. By contrast, Google

produced approximately 4.2 million emails. Ex. 2 ¶ 22. Of the Chats produced, none were from

the 2000-2010, one from 2011, and only a handful from 2012-2015; the vast majority were from

2020-2023. Id. ¶ 19.

                                      LEGAL STANDARD

       Rule 37(e) authorizes sanctions against a party that fails “to take reasonable steps to

preserve” electronically stored information (“ESI”) “that should have been preserved in the

anticipation or conduct of litigation” and “cannot be restored or replaced through additional

discovery[.]” FED. R. CIV. P. 37(e). See also Edwards v. Junior State of Am. Found., No. 4:19-

CV-140-SDJ, 2021 WL 1600282, at *7 (E.D. Tex. Apr. 23, 2021). Once these predicate elements

have been established, courts consider the “possible remedies under Rules 37(e)(1) or 37(e)(2),

which ‘have different requirements before sanctions can be imposed and can lead to different

sanctions.’” BHI Energy I Power Services LLC v. KVP Holdings, LLC, No. 3:22-CV-1981-L-BN,

2024 WL 1607065, at *9 (N.D. Tex. Apr. 12, 2024) (citation omitted). If another party has been



15
   Ex. 4 at 228:3-29:6; Ex. 3 at 33:6-11 (confirming that employees “definitely use Chat for regular
communication as part of [their] ongoing work”), 41:17-42:6. Some Google witnesses claimed
not to use Chats for substantive purposes (Dkt. #545-2 at 3), but even the small number of Chats
produced prove that testimony wrong. See, e.g., Ex. 28 (9/18/19 Chat) at -885; Ex. 29 (1/29/19
Chat). In any event, Google cannot show that all employees don’t use for substantive purposes.
16
   see Ex. 34 ¶¶ 10.a-b(xii); see also, e.g., Ex. 8 at -997 (employee noting that the “lowering of
floors” on AdX made him “sick”). Plaintiffs have previously identified other relevant topics
Google employees discussed in the Chats Google did manage to preserve. Dkt. #374 at 4
(identifying topics and citing exhibits).


                                                 8
Case 4:20-cv-00957-SDJ          Document 752 Filed 01/06/25             Page 17 of 42 PageID #:
                                          50830
                                   *FILED UNDER SEAL*


prejudiced by the “loss of the information,” the court “may order measures no greater than

necessary to cure the prejudice[.]” FED. R. CIV. P. 37(e)(1). Additionally, if the court finds that

the spoliating party “acted with the intent to deprive another party of the information’s use in the

litigation[,]” the court may impose more severe sanctions, such as (i) a presumption “that the lost

information was unfavorable to the party;” (ii) an instruction to “the jury that it may or must

presume the information was unfavorable to the party;” or (iii) “dismiss[ing] the action or

enter[ing] a default judgment.” FED. R. CIV. P. 37(e)(2).17

       It is generally the movant’s burden to demonstrate by a preponderance of the evidence that

spoliation sanctions are warranted. See BHI, 2024 WL 1607065, at *13; United Healthcare

Services, Inc. v. Rossel, No. 3:21-CV-1547-L-BT, 2024 WL 1252365, at *5 (N.D. Tex. Mar. 21,

2024). However, Rule 37(e) “does not place a burden of proving or disproving prejudice on one

party or the other.” FED. R. CIV. P. 37, Adv. Comm. Notes (2015 Amendment). Rather, it is left

to the Court “to determine how best to assess prejudice in particular cases.” Id. See also BHI,

2024 WL 1607065, at *13.

                                          ARGUMENT

     A. Relevant Chats That Should Have Been Preserved Were Permanently Deleted
        Because Google Failed To Take Reasonable Steps To Preserve Them.

       Rule 37(e)’s four predicate elements have been established here. See Edwards, 2021 WL

1600282, at *7. Google did not preserve its employees’ Chats despite its obligation to do so. See

Ex. 34 ¶ 10.t. A party’s duty to preserve evidence arises once it knows or should have known that

the evidence may be relevant to the litigation. See id.; United Healthcare, 2024 WL 1252365, at



17
  The “intent” that must be shown under Rule 37(e)(2) is equivalent to the “bad faith” that must
be shown for courts to impose similar spoliation sanctions under their inherent authority.
See Guzman v. Jones, 804 F.3d 707, 713 (5th Cir. 2015) (“Bad faith, in the context of spoliation,
generally means destruction for the purpose of hiding adverse evidence.”).


                                                 9
Case 4:20-cv-00957-SDJ          Document 752 Filed 01/06/25             Page 18 of 42 PageID #:
                                          50831
                                   *FILED UNDER SEAL*


*7. “A variety of events may alert a party to the prospect of litigation.” Owens v. Bd. of

Supervisors of Louisiana State U. and Agric. and Mech. College, 695 F. Supp. 3d 750, 756-57

(M.D. La. 2023). “Once litigation is reasonably anticipated, a potential party to that litigation

‘must not destroy unique, relevant evidence that might be useful to an adversary.’” United

Healthcare, 2024 WL 1252365, at *7 (citation omitted). Once the duty arises, “even information

subject to routine deletion may fall within the duty’s reach, requiring that the deletion process be

interrupted.” BHI, 2024 WL 1607065, at *9.18

       Here, the deleted Chats are indisputably relevant to Plaintiffs’ claims.19         Google’s

employees, including its custodians in this case, extensively utilized Google Chat to communicate

with each other regarding substantive business issues, including ad-tech-related business relevant

to this case. Supra at 5-8. Indeed, Chats were the recommended mode of communication for

“sensitive” business discussions. Supra at 4. Indeed, while we have the “point in time” Play log

(as it was produced), Google deleted and is still deleting the on-going Chats log that would have

allowed the Court to evaluate all the custodians and their Chats in this case.

       Google admits it had an obligation to preserve evidence no later than September 2019,

when Texas issued its CID. Supra at 5-6. But in truth, Google’s duty to preserve evidence arose

much earlier. Google knew Chats could be relevant to potential antitrust litigation regarding its

ad tech products since at least 2013 (and arguably as far back as 2006), as its own privilege logs

in this case assert attorney client and work product privilege over DoubleClick and ad tech-related



18
   See also United Healthcare, 2024 WL 1252365, at *7, *12 (“A party has a duty to suspend
policies that lead to the deletion of relevant evidence.”); Disedare, 2024 WL 1526699, at *12 (a
party “cannot blindly destroy documents and expect to be shielded by a seemingly innocuous
document retention policy”).
19
   See United Healthcare, 2024 WL 1252365, at *8 (“[L]ost or destroyed evidence is relevant if a
reasonable trier of fact could conclude that the lost evidence would have supported the claims or
defenses of the party that sought it.”); FED. R. EVID. 401.

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Case 4:20-cv-00957-SDJ           Document 752 Filed 01/06/25               Page 19 of 42 PageID #:
                                           50832
                                    *FILED UNDER SEAL*


communications from that time. Supra at 6. “A defendant cannot take the inconsistent position

that it was under anticipation of litigation for privilege purposes and then simultaneously deny that

it had any duty to preserve relevant and proportional documents and ESI.” Bellamy v. Wal-Mart

Stores, Texas, LLC, No. SA-18-CV-60-XR, 2019 WL 3936992, at *4 (W.D. Tex. Aug. 19, 2019).20

       Google could have easily taken steps to preserve its employees’ Chats as soon as it

reasonably anticipated litigation.21 Ex. 34 ¶¶ 5.k, 5.o, 5.t-w, 10.r. 22 Google’s abject failure to take

these or any other reasonable steps to preserve its employees’ Chats, supra at 2-6; Ex. 34 ¶¶ 10.g,

10.j, 10.k,23 resulted in millions of deleted communications. Ex. 34 ¶ 10.v-w; see, e.g., Disedare

v. Brumfield, No. CV 22-2680, 2024 WL 1526699, at *12 (E.D. La. Apr. 9, 2024). “[N]either a

different source nor further discovery could adequately replace” the Chats that Google destroyed.

Edwards, 2021 WL 1600282, at *8; Ex. 34 ¶¶ 5.c.24


20
   See also, e.g., Allstate Texas Lloyd's v. McKinney, 964 F. Supp. 2d 678, 684 (S.D. Tex. 2013);
LendingTree, LLC v. Zillow, Inc., No. 3:10-CV-00439-FDW, 2014 WL 1309305, at *10
(W.D.N.C. Mar. 31, 2014);Anderson v. Sotheby's Inc. Severance Plan, No. 04 CIV. 8180 (SAS),
2005 WL 2583715, at *4 (S.D.N.Y. Oct. 11, 2005).
21
   Google is well versed in both technology and litigation. See Play, 664 F. Supp. 3d at 982–83.
Courts take this into consideration when determining whether a party took reasonable steps to
preserve ESI. See FED. R. CIV. P. 37, Adv. Comm. Notes (2015 Amendment) (courts “should be
sensitive to the party’s sophistication with regard to litigation in evaluating preservation efforts”).
22
    See also Owens, 695 F. Supp. 3d at 758 (“[D]iscovery obligations do not end with the
implementation of a ‘litigation hold’—to the contrary, that’s only the beginning. Counsel must
oversee compliance with the litigation hold . . . .”).
23
   See Play, 664 F. Supp. 3d at 993–94 (concluding “that Google did not take reasonable steps to
preserve [Chat evidence] that should have been preserved in the anticipation or conduct of
litigation”); see also, e.g., Owens, 695 F. Supp. 3d at 759 (“Defendant did not take reasonable
steps to preserve [texts]” where, “[d]espite a litigation hold, Defendant did not properly monitor
or did not properly communicate to the relevant staff the need to preserve key data.”); Trade
Group, Inc. v. BTC Media, LLC, No. 4:23-CV-00555-P, 2024 WL 3513475, at *3 (N.D. Tex. July
23, 2024) (concluding “the failure to ensure the autodelete function was turned off when litigation
holds were issued . . . , which would have preserved [the] text messages, constitutes a lack of
reasonable steps to safeguard these messages”); United Healthcare, 2024 WL 1252365, at *12
(finding defendant was required to amend its document retention policy “from the moment any
litigation with Plaintiffs was reasonably anticipated”).
24
   Regardless, “the mere potential for similar conversations is not sufficient to restore or replace



                                                  11
Case 4:20-cv-00957-SDJ         Document 752 Filed 01/06/25             Page 20 of 42 PageID #:
                                         50833
                                  *FILED UNDER SEAL*


   B. Rule 37(e)(2) Sanctions Are Warranted Because Google Intentionally Failed To
      Preserve Chats for the Purpose of Depriving Opponents of Their Use in Litigation.

       To impose an adverse inference instruction, the Court must find that Google acted with

“intent.” FED. R. CIV. P. 37(e)(2). Intent can be shown “by either direct evidence or by inference

from a ‘strong chain of circumstantial evidence.’” Disedare, 2024 WL 1526699, at *12 (citation

omitted).25 Prejudice may be “presumed” or “inferred” if the Court finds that Google acted with

the intent to deprive. BHI, 2024 WL 1607065, at *11.26 Google’s Chat retention policies were

deliberately created for the express purpose of depriving enforcement authorities of the use of

Google’s employees’ Chats in litigation. Supra at 2-3. The fact that Google preserved emails by

default, but not Chats (which it pressured its employees to use), creates the strong inference that

the Chats policy was intentional and in bad faith. Supra at 2-3.27 Indeed, even after Google

belatedly issued litigation holds—the first in two necessary steps for a Chat to be retained—years

after its obligation to preserve arose, almost none of the Chats for relevant custodians were

preserved. Supra at 7-8. A party who destroys 90+% of a category of evidence produced by an

employee under a litigation hold intends to deprive its adversary of that evidence. Google’s




the lost [Chats]. Even when the information lost is cumulative to some extent, the loss of the
information still has an impact because Plaintiffs cannot present the overwhelming quantity of
evidence they otherwise would have to support their case.” Owens, 695 F. Supp. 3d at 760 (internal
citation omitted; cleaned up).
25
   See also Sanchez v. Thomas, No. 1-22-CV-01197-DII, 2024 WL 4706583, at *4 (W.D. Tex.
Oct. 9, 2024) (citation omitted), report and recommendation adopted, No. 1:22-CV-1197-RP,
2024 WL 4701909 (W.D. Tex. Nov. 5, 2024).
26
   See also Balancecxi, Inc. v. Intl. Consulting, No. 1:19-CV-0767-RP, 2020 WL 6886258, at *13
n.9 (W.D. Tex. Nov. 24, 2020), report and recommendation adopted sub nom. BalanceCXI, Inc.
v. Intl. Consulting & Research Group, LLC, No. 1:19-CV-767-RP, 2021 WL 2194900 (W.D. Tex.
Feb. 3, 2021); Disedare, 2024 WL 1526699, at *4.
27
   See, e.g., Sanchez, 2024 WL 4706583, at *5 (noting defendants’ “selective preservation of
evidence in response to alleged inmate misconduct as opposed to alleged officer misconduct
nonetheless suggests bad faith”).

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Case 4:20-cv-00957-SDJ            Document 752 Filed 01/06/25               Page 21 of 42 PageID #:
                                            50834
                                     *FILED UNDER SEAL*


remedial action in 2023 hammers the points home; once its policy was uncovered,28 Google

implemented a fix. Supra at 2, 5. That it did so swiftly after being caught red handed shows that

its prior noncompliance was willful.

        Severe sanctions are necessary not only to punish Google and mitigate the prejudice to

Plaintiffs, but also to deter other civil litigants from engaging in similar conduct.29 Accordingly,

Plaintiffs respectfully request that the Court instruct the jury that it must (or, at the very least, may)

presume that the deleted Chats were unfavorable to Google. FED. R. CIV. P. 37(e)(2)(B).30

     C. Rule 37(e)(1) Sanctions Are Warranted Because Plaintiffs Are Prejudiced by
        Google’s Failure To Preserve Chats.

        Additional sanctions are also warranted under Rule 37(e)(1) because Plaintiffs have been

prejudiced by Google’s spoliation. Notably, a showing of bad faith is not required under Rule

37(e)(1).31 Rather, such sanctions are appropriate so long as Plaintiffs have been prejudiced by

Google’s failure to preserve. FED. R. CIV. P. 37(e)(1). The Court may determine which party bears



28
   See Play, 664 F. Supp. 3d at 993 (noting the “intentionality manifested at every level within
Google to hide the ball with respect to Chat[s]”). Two other courts have also reprimanded Google
for its systemic and intentional destruction of Chats evidence. See United States v. Google LLC,
No. 20-CV-3010 (APM), 2024 WL 3647498, at *134 (D.D.C. Aug. 5, 2024) (“[a]ny company that
puts the onus on its employees to identify and preserve relevant evidence does so at its own peril”;
court was “taken aback by the lengths to which Google goes to avoid creating a paper trail for
regulators and litigants”); Ex. 9 (Hr’g Tr., United States v. Google LLC, No. 23-cv-108 (E.D. Va.
Aug. 27, 2024)) at 16:11-17:8 (finding it “strange” that Google “put the burden on the ordinary
employee to decide whether or not that particular chat needed to be preserved . . . .”).
29
   See Balancecxi, 2020 WL 6886258, at *13; Disedare, 2024 WL 1526699, at *15; sanofi-aventis
Deutschland GmbH v. Glenmark Pharm. Inc., No. 07-CV-5855, 2010 WL 2652412, at *5 (D.N.J.
July 1, 2010), aff'd sub nom.Sanofi-Aventis Deutschland GmbH v. Glenmark Pharm. Inc., USA,
748 F.3d 1354, 1362 (Fed. Cir. 2014).
30
   In the unlikely event the Court decides it may conduct a bench trial instead of a jury trial,
Plaintiffs request that the Court presume that that the deleted Chats were unfavorable to Google.
FED. R. CIV. P. 37(e)(2)(A).
31
   See Trade Group, 2024 WL 3513475, at *2 (“Rule 37(e)(1) does not contain an ‘intent’
requirement. A party does not have to act willfully, deliberately, intentionally, or with any
objective or subjective bad faith.”); BHI, 2024 WL 1607065, at *10; Owens, 695 F. Supp. 3d at
755 (“no finding of intent is necessary to impose sanctions” under Rule 37(e)(1)).


                                                   13
Case 4:20-cv-00957-SDJ         Document 752 Filed 01/06/25             Page 22 of 42 PageID #:
                                         50835
                                  *FILED UNDER SEAL*


the burden of proving or disproving prejudice. Supra at 9. Where, as here, the content of the lost

information is hard to know, “placing the burden of proving prejudice on the party that did not

lose the information may be unfair.” FED. R. CIV. P. 37, Adv. Comm. Notes (2015 Amendment).32

Regardless, even if the Court chooses to place the burden on Plaintiffs, they have met it.

       Typically, “the prejudice element is satisfied where a party’s ability to present its case or

to defend is compromised.” Trade Group, 2024 WL 3513475, at *3; see also Owens, 695 F. Supp.

3d at 760; BHI, 2024 WL 1607065, at *10 (party prejudiced when its “ability to obtain the evidence

necessary for its case has been thwarted”). Here, millions of Chats by relevant custodians have

been destroyed. Supra at 7. These communications are not replicated in emails or elsewhere, per

Google’s express instructions and training sessions. Supra at 2, 4. The few Chats produced in this

case further demonstrate that Google employees used Google Chat to candidly discuss substantive

issues related to Google’s ad tech business. Supra at 7-8. By failing to preserve most of its

custodians’ Chats, Google has compromised Plaintiffs’ ability to present their case.33

       Once prejudice is found, the range of potential sanctions available to the Court “is quite

broad[.]” Edwards, 2021 WL 1600282, at *9. See also Disedare, 2024 WL 1526699, at *14. For

example, the Court can permit “the parties to present evidence and argument to the jury regarding




32
   See also Owens, 695 F. Supp. 3d at 760–61 (“Defendants claim that Plaintiffs cannot show that
any relevant evidence has indeed been lost and thus there can be no showing of prejudice. But to
allow such an argument would be to allow every spoliator to claim lack of evidence implies lack
of relevance.”); Trade Group, 2024 WL 3513475, at *3–4 (“It is a circular argument that BTC
must explain exactly what was in the deleted text messages in order to establish prejudice,
especially when they never had the chance to review said text messages.”); Play, 664 F. Supp. 3d
at 994 (noting it was “not plaintiffs’ burden to prove prejudice” for purposes of Rule 37(e)(1)).
33
   See, e.g., Trade Group, 2024 WL 3513475, at *4 (“BTC’s ability to put forth their case has
undoubtedly been impacted by a swatch of who knows how many missing text messages, and the
Court finds they have been prejudiced accordingly.”); Play, 664 F. Supp. 3d at 994 (“It is clear in
the record that relevant, substantive business communications were made on Chat that plaintiffs
will never see, to the potential detriment of their case.”).


                                                14
Case 4:20-cv-00957-SDJ          Document 752 Filed 01/06/25              Page 23 of 42 PageID #:
                                          50836
                                   *FILED UNDER SEAL*


the loss of information,” or give “the jury instructions to assist in its evaluation of such evidence

or argument, other than instructions to which subdivision (e)(2) applies[.]” FED. R. CIV. P. 37(e),

Adv. Comm. Notes (2015 Amendment).34,35,36

       Finally, courts “routinely award attorney’s fees and expenses under Rule 37(e), to cover

the time and effort necessary to bring the issue of spoliation before the court.” BHI, 2024 WL

1607065, at *11. See also United Healthcare, 2024 WL 1252365, at *4, *15; Balancecxi, 2020

WL 6886258, at *15-16; Disedare, 2024 WL 1526699, at *16. Here, Google has obstructed

Plaintiffs’ efforts to determine the extent of Google’s Chats spoliation at every turn. See, e.g.,

Dkts. #347, #348, #374, #540, #545. Plaintiffs therefore request that they be awarded their

attorney’s fees and expenses associated with these efforts.

                                          CONCLUSION

       For these reasons, Plaintiffs request that the Court instruct the jury at trial that (i) Google

had an obligation to preserve Chats, (ii) Google intentionally deleted millions of Chats, and (iii)

the jury must (or, alternatively, may) presume the deleted Chats contained information unfavorable

to Google. Plaintiffs further request that the Court: (1) deny Google’s motions for summary

judgment to the extent the deleted Chats could have provided relevant evidence; (2) award

Plaintiffs’ attorneys’ fees and costs; and (3) impose any other sanctions the Court finds appropriate.



34
   See also Edwards, 2021 WL 1600282, at *9 & n.10 (courts “often issue a spoliation jury
instruction when pertinent evidence is spoliated, even absent a showing of bad faith”); BHI, 2024
WL 1607065, at *10; United Healthcare, 2024 WL 1252365, at *4, *14.
35
   If the Court determines Rule 37(e)(2) sanctions are not warranted, Plaintiffs request that the
Court instruct the jury that it may consider the circumstances surrounding the loss of the Chats
36
   In all circumstances, the Court should deny Google’s summary judgment motions (Dkt. #672;
Dkt. #674) to the extent the motions rely on facts that could have been established through
destroyed evidence. See, e.g., Cleary v. Am. Airlines, Inc., No. 4:21-CV-00184-O, 2022 WL
5320126, at *7 (N.D. Tex. July 22, 2022); cf. Miramontes v. Peraton, Inc., No. 3:21-CV-3019-B,
2023 WL 3855603, at *1, *7 (N.D. Tex. June 6, 2023) (denying summary judgment as sanction
under inherent authority).


                                                 15
Case 4:20-cv-00957-SDJ          Document 752 Filed 01/06/25          Page 24 of 42 PageID #:
                                          50837
                                   *FILED UNDER SEAL*


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                                              16
Case 4:20-cv-00957-SDJ          Document 752 Filed 01/06/25    Page 25 of 42 PageID #:
                                          50838
                                   *FILED UNDER SEAL*




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                                             17
Case 4:20-cv-00957-SDJ          Document 752 Filed 01/06/25     Page 26 of 42 PageID #:
                                          50839
                                   *FILED UNDER SEAL*


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                                               18
Case 4:20-cv-00957-SDJ          Document 752 Filed 01/06/25   Page 27 of 42 PageID #:
                                          50840
                                   *FILED UNDER SEAL*


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                                            19
Case 4:20-cv-00957-SDJ          Document 752 Filed 01/06/25   Page 28 of 42 PageID #:
                                          50841
                                   *FILED UNDER SEAL*


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Case 4:20-cv-00957-SDJ          Document 752 Filed 01/06/25   Page 29 of 42 PageID #:
                                          50842
                                   *FILED UNDER SEAL*


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                                            21
Case 4:20-cv-00957-SDJ          Document 752 Filed 01/06/25   Page 30 of 42 PageID #:
                                          50843
                                   *FILED UNDER SEAL*


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                                             22
Case 4:20-cv-00957-SDJ        Document 752 Filed 01/06/25          Page 31 of 42 PageID #:
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                                 *FILED UNDER SEAL*


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                                             23
Case 4:20-cv-00957-SDJ          Document 752 Filed 01/06/25   Page 32 of 42 PageID #:
                                          50845
                                   *FILED UNDER SEAL*


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                                               24
Case 4:20-cv-00957-SDJ        Document 752 Filed 01/06/25   Page 33 of 42 PageID #:
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                                 *FILED UNDER SEAL*


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                                               25
Case 4:20-cv-00957-SDJ          Document 752 Filed 01/06/25   Page 34 of 42 PageID #:
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                                   *FILED UNDER SEAL*


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                                            26
Case 4:20-cv-00957-SDJ         Document 752 Filed 01/06/25   Page 35 of 42 PageID #:
                                         50848
                                  *FILED UNDER SEAL*


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                                            27
Case 4:20-cv-00957-SDJ         Document 752 Filed 01/06/25   Page 36 of 42 PageID #:
                                         50849
                                  *FILED UNDER SEAL*


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                                           28
Case 4:20-cv-00957-SDJ        Document 752 Filed 01/06/25       Page 37 of 42 PageID #:
                                        50850
                                 *FILED UNDER SEAL*


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                                              29
Case 4:20-cv-00957-SDJ        Document 752 Filed 01/06/25   Page 38 of 42 PageID #:
                                        50851
                                 *FILED UNDER SEAL*


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                                             30
Case 4:20-cv-00957-SDJ          Document 752 Filed 01/06/25   Page 39 of 42 PageID #:
                                          50852
                                   *FILED UNDER SEAL*


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                                                  31
Case 4:20-cv-00957-SDJ         Document 752 Filed 01/06/25   Page 40 of 42 PageID #:
                                         50853
                                  *FILED UNDER SEAL*


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                                               32
Case 4:20-cv-00957-SDJ          Document 752 Filed 01/06/25   Page 41 of 42 PageID #:
                                          50854
                                   *FILED UNDER SEAL*


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                                             33
Case 4:20-cv-00957-SDJ          Document 752 Filed 01/06/25              Page 42 of 42 PageID #:
                                          50855
                                   *FILED UNDER SEAL*


                       CERTIFICATE OF SERVICE AND SEALING

       I certify that, on December 9, 2024, this document was filed electronically in compliance

with Local Rule CV-5(a) and served on all counsel who have consented to electronic service, per

Local Rule CV-5(a)(3)(A).

       I also certify that, on December 9, 2024, a motion to seal the foregoing document and its

exhibits was filed separately and before the filing of this document under seal, per Local Rule CV-

5(a)(7)(B). This sealed filing will be promptly served by email on counsel of record for all parties

in this case and will be publicly filed in redacted form per Local Rule CV-5(a)(7)(E).

                                                   /s/ Marc B. Collier
                                                   Marc B. Collier



                             CERTIFICATE OF CONFERENCE

       I certify that counsel has complied with the meet and confer requirement in Local Rule

CV-7(h). Counsel for Plaintiff States met and conferred in good faith with counsel for Google on

November 14, 2024. Google indicated that it opposes the motion.

                                                   /s/ Marc B. Collier
                                                   Marc B. Collier




                                                34
